                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:                                                        Case No. 08-69940

WHYCO FINISHING TECHNOLOGY, LLC,                              Chapter 11

                       Debtor.                                Judge Thomas J. Tucker
                                                 /

FRANKLIN ADVISORS, LLC, etc.,

                       Plaintiff,

v.                                                            Adv. Pro. No. 10-6850

SHERWOOD MANAGEMENT CORP.,

                       Defendant.
                                            /

      OPINION REGARDING PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

         This adversary proceeding came before the Court for a hearing on the Plaintiff’s motion

for summary judgment.1 For the reasons stated in this opinion, the Court will deny the Motion.

I. Background and facts

         A. Introduction

         The related Chapter 11 case of Whyco Finishing Technology, LLC (“Whyco”) is being

administered under a confirmed plan of liquidation (the “Confirmed Plan”).2 The Plaintiff in this



         1
           “Trustee’s Motion for Summary Judgment and Disallowance of Sherwood’s Claims” (Docket
# 29, the “Motion”).
         2
          The Confirmed Plan is entitled “Official Committee of Unsecured Creditors’ Fifth Amended
Combined Liquidating Plan of Reorganization and Disclosure Statement” (Docket # 352 in Case No. 08-
69940 (the “Main Case”)). It was filed on January 26, 2010, and then was supplemented by the filing of
a Liquidation Trust Agreement, filed on March 19, 2010 (Docket # 377 in Main Case). It was confirmed,
with modifications, by the order filed on March 22, 2010 (Docket # 380 in Main Case).



     10-06850-tjt   Doc 49     Filed 10/18/13     Entered 10/18/13 15:46:55         Page 1 of 34
adversary proceeding, Franklin Advisors, LLC (“Plaintiff” or “Franklin”), is the Liquidation

Trustee under the Confirmed Plan. The Defendant, Sherwood Management Corporation

(“Defendant” or “Sherwood”), is an unsecured creditor who filed a proof of claim and an

amended proof of claim in the Whyco case. Sherwood’s amended claim is for $710,489.71, and

is based on the Debtor Whyco’s alleged breach of a real estate lease.

       Franklin’s complaint in this adversary proceeding seeks disallowance, or in the

alternative, a reduction, of Sherwood’s claim. The complaint seeks this relief for a variety of

reasons, some of which are discussed in this opinion, including Franklin’s argument that neither

Sherwood’s initial proof of claim nor its amended proof of claim was timely filed.

       This dispute began as an objection to claim, filed in the Main Case by the Official

Committee of Unsecured Creditors, which raised most of the same arguments now being made

by Franklin in this adversary proceeding.3 Under the Confirmed Plan, both Franklin, as

Liquidation Trustee, and the Committee have authority to object to claims.4 Franklin filed its

claim objection as an adversary proceeding, because it includes an alternative theory of claim

objection involving the avoidance of an alleged fraudulent transfer. The Committee’s objection

to claim remains pending in the Main Case, awaiting the Court’s ruling on the pending motions

in this adversary proceeding.5

       B. Sherwood’s claim and amended claim


       3
        See “The Official Committee of Unsecured Creditors’ Objection to Amended Claim of
Sherwood Management Corp. [Claim No. 48-2]” (Docket # 425 in Main Case).
       4
          See Confirmed Plan (Docket # 352) at 16, 19. And the Committee is to supervise the activities
of the Liquidation Trustee. See id. at 18.
       5
           See Order (Docket # 531 in Main Case).

                                                    2



  10-06850-tjt      Doc 49       Filed 10/18/13     Entered 10/18/13 15:46:55        Page 2 of 34
         1. The Lease between Whyco and Sherwood

         Except as otherwise noted, the following facts are undisputed. On or about September

27, 2003, the Debtor Whyco and Sherwood entered into a written lease agreement dated

September 3, 2003, under which Sherwood leased to Whyco real property located at 18074

Sherwood, Detroit, Michigan (the “Premises”).6 The initial term of the Lease was for five years,

and ran from February 1, 2004 through January 31, 2009. The Lease gave Whyco an option to

renew the Lease after the initial 5-year term, for five additional one-year periods. Whyco’s

renewal of the Lease for each of these additional one-year periods was automatic, unless Whyco

gave a 180-day written notice to Sherwood. The Lease provided that:

                   Unless the LESSEE provides the LESSOR written notice One
                   Hundred Eighty (180) days prior to a renewal period, this LEASE
                   will automatically extend in one (1) year increments after the
                   INITIAL PERIOD. During any occupancy after the INITIAL
                   PERIOD, all the same terms and conditions as set forth in this
                   LEASE shall apply, except the rent during any month will be Five
                   hundred Dollars ($500.00) more than the corresponding month
                   (12) months prior.7

         One of Whyco’s subsidiaries, Whyco Detroit, LLC (“Whyco Detroit”), which is a

successor to Spartan Plating Company (“Spartan”), occupied the Premises during the initial 5-

year term, and operated a metal finishing business there. Whyco itself never occupied the

Premises.8

         Franklin alleges, but Sherwood disputes, that effective October 1, 2003, Whyco assigned


         6
             A copy of this written lease (the “Lease”) appears in Exhibit 6-A of Franklin’s Motion (Docket
# 29).
         7
             Lease ¶ 2.0.
         8
             Decl. of William Aiken (Ex. 5-A of Docket # 29) at ¶ 8.

                                                       3



   10-06850-tjt        Doc 49      Filed 10/18/13      Entered 10/18/13 15:46:55         Page 3 of 34
to its subsidiary, then known as Spartan, its interest in the Lease, with Spartan agreeing to

assume all of Whyco’s obligations under the Lease. Franklin alleges, but Sherwood disputes,

that Sherwood consented to this assignment of the Lease, through the signature of Joel Weingrad,

Sherwood’s President.9

       2. Whyco’s bankruptcy case and Sherwood’s claim

       Whyco filed its Chapter 11 bankruptcy petition on December 8, 2008. Sherwood was not

listed as a creditor on Whyco’s schedules, and Sherwood was not given any notice of Whyco’s

bankruptcy filing. The Court set a deadline of April 13, 2009 for creditors to file proofs of claim

in the Whyco case. Sherwood did not file any proof of claim by the deadline.

       Sherwood’s President, Joel Weingrad, has admitted that he became aware of Whyco’s

bankruptcy filing in “March or April” 2009.10 While the evidence does not pinpoint more exactly

when in March or April 2009 Sherwood first learned of the Whyco bankruptcy, it is clear that

Sherwood had actual knowledge of the bankruptcy case no later than April 23, 2009. That is the

date on which Sherwood filed a lawsuit in the Wayne County, Michigan Circuit Court against

Whyco’s William Aikens (“Bill Aikens”), seeking to recover based on Aikens’s personal

guarantee of the Lease. In paragraph 15 of its complaint, Sherwood alleged that “[u]pon

information and belief, Whyco has filed for protection under the United States Bankruptcy

Code.”11

       Almost three months later, on July 16, 2009, Sherwood filed its initial proof of claim in


       9
            See discussion in part IV.B of this opinion.
       10
            Dep. of Joel Weingrad (Docket # 29, Ex. 5-B) at 67-68.
       11
            Docket # 29, Ex. 6-G at ¶ 15.

                                                      4



  10-06850-tjt        Doc 49      Filed 10/18/13       Entered 10/18/13 15:46:55   Page 4 of 34
the Whyco bankruptcy case, in the amount of $202,878.12.12 Nine months after that, Sherwood

filed its amended proof of claim, in the amount of $710,489.71, on April 21, 2010.13 This was

just over a month after the Court entered its March 22, 2010 Order confirming Whyco’s Chapter

11 Plan.

II. Jurisdiction

        This Court has subject matter jurisdiction over this adversary proceeding under 28 U.S.C.

§§ 1334(b), 157(a) and 157(b)(1), and Local Rule 83.50(a) (E.D. Mich.). This is a core

proceeding under 28 U.S.C. §§ 157(b)(2)(A), (B), (H), and (O).14

        This proceeding also is “core” because it falls within the definition of a proceeding

“arising under title 11” and of a proceeding “arising in” a case under title 11, within the meaning

of 28 U.S.C. § 1334(b). Matters falling within either of these categories in § 1334(b) are deemed

to be core proceedings. See Allard v. Coenen (In re Trans-Industries, Inc.), 419 B.R. 21, 27

(Bankr. E.D. Mich. 2009). This is a proceeding “arising under title 11” because it is “created or

determined by a statutory provision of title 11,” see id., including Bankruptcy Code §§ 502(a)

and (b), 365, and 548. And this is a proceeding “arising in” a case under title 11, because it is a

proceeding that “by [its] very nature, could arise only in bankruptcy cases.” See id. at 27.

III. Summary judgment standards

        Fed.R.Civ.P. 56(a), applicable to bankruptcy adversary proceedings under Fed.R.Bankr.P.



        12
             Docket # 29, Ex. 6-H.
        13
             Docket # 29, Ex. 6-I.
        14
          The parties have agreed that this is a core proceeding. See Report of Parties’ Rule 26(f)
Conference (Docket # 13) at 3.

                                                      5



   10-06850-tjt        Doc 49        Filed 10/18/13   Entered 10/18/13 15:46:55        Page 5 of 34
7056, provides that a motion for summary judgment "shall" be granted "if the movant shows that

there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law." In Cox v. Kentucky Dep't of Transp., 53 F.3d 146, 149-50 (6th Cir. 1995), the

court elaborated:

               The moving party has the initial burden of proving that no genuine
               issue of material fact exists and that the moving party is entitled to
               judgment as a matter of law. To meet this burden, the moving
               party may rely on any of the evidentiary sources listed in Rule
               56(c) or may merely rely upon the failure of the nonmoving party
               to produce any evidence which would create a genuine dispute for
               the [trier of fact]. Essentially, a motion for summary judgment is a
               means by which to challenge the opposing party to “put up or shut
               up” on a critical issue.

               If the moving party satisfies its burden, then the burden of going
               forward shifts to the nonmoving party to produce evidence that
               results in a conflict of material fact to be resolved by [the trier of
               fact]. In arriving at a resolution, the court must afford all
               reasonable inferences, and construe the evidence in the light most
               favorable to the nonmoving party. However, if the evidence is
               insufficient to reasonably support a . . . verdict in favor of the
               nonmoving party, the motion for summary judgment will be
               granted. Thus, the mere existence of a scintilla of evidence in
               support of the plaintiff's position will be insufficient; there must be
               evidence on which the [trier of fact] could reasonably find for the
               plaintiff.
               ...

               Finally, the Sixth Circuit has concluded that, in the "new era" of
               summary judgments that has evolved from the teachings of the
               Supreme Court in Anderson [v. Liberty Lobby, Inc., 477 U.S. 242
               (1986)], Celotex [Corp. v. Catrett, 477 U.S. 317 (1986)] and
               Matsushita [Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S.
               574 (1986)], trial courts have been afforded considerably more
               discretion in evaluating the weight of the nonmoving party's
               evidence. The nonmoving party must do more than simply show
               that there is some metaphysical doubt as to the material facts. If
               the record taken in its entirety could not convince a rational trier of
               fact to return a verdict in favor of the nonmoving party, the motion


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  10-06850-tjt      Doc 49    Filed 10/18/13      Entered 10/18/13 15:46:55         Page 6 of 34
               should be granted.

Id. (internal quotation marks and citations omitted). In determining whether the moving party

has met its burden, a court must "believe the evidence of the nonmovant, and draw all justifiable

inferences in favor of the nonmovant." Ingram v. City of Columbus, 185 F.3d 579, 586 (6th Cir.

1999)(relying on Russo v. City of Cincinnati, 953 F.2d 1036, 1041-42 (6th Cir.1992)).

IV. Discussion of Franklin’s summary judgment arguments

       The Court will now discuss Franklin’s summary judgment arguments.

       A. Franklin’s argument that the Lease terminated on January 31, 2009

       Franklin asks the Court to rule, among other things, that the Lease between Whyco and

Sherwood terminated at the end of the initial 5-year term, on January 31, 2009. Franklin claims

that Whyco gave Sherwood the 180-day prior written notice of non-renewal, required by the

Lease in order to avoid an automatic one-year renewal of the Lease. Sherwood disputes this, and

contends that the Lease automatically renewed for an additional one-year period when the initial

5-year Lease term ended on January 31, 2009.

       Under ¶ 2.0 of the Lease, quoted in part I.B of this opinion, Whyco had to provide

Sherwood “written notice” at least 180 days before the January 31, 2009 expiration of the initial

5-year Lease term, in order for the Lease to terminate on that date. Otherwise, by its terms, the

Lease automatically renewed for an additional one-year period, on the same terms, except at a

rental rate of $500.00 per month higher than during the last year of the initial 5-year term. The

180-day notice deadline was August 4, 2008.

       Franklin contends that Whyco timely gave the required written notice to Sherwood on

two different occasions — first, in a letter addressed to Joel Weingrad dated March 20, 2008; and


                                                 7



  10-06850-tjt     Doc 49     Filed 10/18/13     Entered 10/18/13 15:46:55        Page 7 of 34
second, in an e-mail to Joel Weingrad on July 31, 2008. Sherwood disputes that either of these

writings constitutes a notice sufficient to avoid the automatic one-year renewal of the Lease on

January 31, 2009.

        1. The March 20, 2008 letter

        The one-page March 20, 2008 letter, at the top of the page, had the letterhead of Whyco’s

subsidiary, Whyco Detroit, the occupant of the Premises, and was signed by W. Nicholas

(“Nick”) Post, Whyco Detroit’s President. At the bottom of the stationery used for this letter was

the name “The Whyco Group” and a list of four business locations, including “Detroit, MI.” The

letter states the following:

                March 20, 2008

                Joel Weingrad

                Re: 18074 Sherwood Lease

                Dear Joel,

                The first 5 years of our lease agreement covering 18074
                Sherwood will be ending at the end of September 2008.
                Although we have been generally pleased with the building and
                location, due to the changes in the economic climate of Michigan
                and the Detroit area in particular the increase in rent listed in
                Exhibit B of the lease is not acceptable.

                We hired an independent appraiser to have a better idea of current
                commercial rents in the Detroit area. Based on his reports
                information Whyco should be paying $7,800/month rent ($3.04 X
                30,906 / 12) not $12,400 let alone [an] increase. Additionally this
                is an assessment based on information that is trailing current real
                estate market conditions; the actual market is lower than the
                numbers above and headed down.

                We would like to open a discussion with you to re-examine the
                rent following this initial 5-year period in the hope of lowering


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   10-06850-tjt     Doc 49      Filed 10/18/13   Entered 10/18/13 15:46:55          Page 8 of 34
                 the rent and remaining in the building. If you feel this is not
                 possible, I would appreciate it if you would let me know and in
                 that event you may consider this letter your 180-day notice
                 (per the lease agreement) that we will be forced to vacate 18074
                 Sherwood by the end of September.15

       The writer of this letter assumed, mistakenly, that the initial 5-year term of the Lease

ended in September 2008. As noted earlier in this opinion, however, the parties agree that the

initial 5-year term actually ended on January 31, 2009.

       Sherwood’s President, Joel Weingrad, received this letter no later than March 24, 2008.

On that date, he sent Whyco Detroit’s Nick Post an e-mail acknowledging receipt of the letter,

and stating, in pertinent part, the following:

                 Nick

                 I have received your letter of March 20, 2008 to Joel Weingrad,
                 Re: 18074 Sherwood Lease, and wish to reply completely and
                 immediately. If you would please scan the signed lease, and any
                 modifications you have, and forward it to me by email, I will reply
                 quickly. I will review the lease, as modifed, and send you a
                 proposal with a rental rate less than your present monthly rental for
                 any renewal periods. Further explanation below.

                 We want to be responsive to the prevailing rental market. We
                 would like to keep you as a tenant. Bill was very helpful at the
                 inception of the lease and I provided some guidance to Bill for the
                 purchase of the equipment installed. I had anticipated Bill would
                 purchase the building at some later date. Our objective is to sell the
                 property.16

       After this exchange, the parties discussed possible terms on which they might agree to

extend the Lease beyond the January 31, 2009 expiration date, but they came to no agreement.



       15
            Ex. 6-D at Docket # 29 (emphasis added).
       16
            Ex. 6-E at Docket # 29.

                                                   9



  10-06850-tjt       Doc 49     Filed 10/18/13     Entered 10/18/13 15:46:55         Page 9 of 34
Ultimately, on July 31, 2008, Whyco and Sherwood exchanged the following e-mails. First,

Sherwood’s Joel Weingrad sent the following e-mail to Nick Post of Whyco Detroit and

Whyco’s Bill Aikens, at 11:13 a.m.:

                 BILL
                 NICK

                 I SPOKE WITH MARY THIS MORNING AND ASKED THAT
                 ONE OF YOU CALL ME AT 734 418 2387. A CALL IS NOT
                 REQUIRED

                 IF THE "LEASE MODIFICATION OF THE 25 JULY 2008" IS
                 ACCEPTABLE. JUST SIGN IT AND SEND IT BY EMAIL TO
                 ME.

                 THE PURPOSE OF HAVING YOU CALL WAS TO EXPEDITE
                 A LEASE EXTENSION. AS THE 180 DAY PERIOD PRIOR TO
                 THE END OF THE FIRST LEASE PERIOD IS APPROACHING,
                 I HAVE TO ENGAGE A REAL ESTATE BROKER AND HAVE
                 A SIGN PLACED ON THE PROPERTY, IF THE OCCUPANCY
                 IS TERMINATING JANUARY 31, 2009. A "FOR SALE OR
                 LEASE" SIGN IS NOT GOOD FOR YOU IF YOU HAVE
                 CUSTOMERS VISITING.

                 FURTHERMORE, I WOULD NOT LIKE TO HAVE ANY
                 CONFUSION AS TO THE STATUS OF THE LEASE. I PREFER
                 TO WORK WITH A CLEARLY WRITTEN AGREEMENT. BY
                 NOT SIGNING A MODIFICATION AT THIS TIME, I CAN
                 ONLY ASSUME THE ORIGINAL PROPERTY LEASE IS STILL
                 EFFECTIVE AND GOVERNING.

                 JOEL 31 JULY 200817

       About two hours later, at 1:20 p.m., Whyco’s Bill Aikens replied to Joel Weingrad’s e-

mail with the following e-mail:

                 Joel, we are presently negotiating to obtain an extension of a major
                 contract which would be essential for us to be able to remain in the


       17
            Ex. 6-F of Docket # 29.

                                                  10



  10-06850-tjt      Doc 49     Filed 10/18/13     Entered 10/18/13 15:46:55       Page 10 of 34
                  building. Our customer told us that they will be unable to give us
                  the answer until September 30, so we are unable to determine if we
                  will be able to extend prior to receiving their answer.

                  Bill18

       Franklin argues that Nick Post’s March 20, 2008 letter, quoted above, clearly

communicated to Sherwood that the Lease would not automatically renew at the end of the five-

year term on January 31, 2009. This is so, Franklin argues, because the letter clearly stated that

after the five-year term ended, Whyco would not continue to lease the Premises at the rental rate

provided in the Lease; but rather would remain in the Premises only if the parties could agree on

a substantially reduced rental rate. According to Franklin, this message to Sherwood was clearly

inconsistent with allowing the Lease to automatically renew on January 31, 2009 for another

year, at the (increased) rental rate provided in the Lease.

       Sherwood argues, on the other hand, that Nick Post’s March 20 letter was at most a

conditional notice of non-renewal of the Lease, and that the conditions for non-renewal did not

occur. Sherwood put it this way in its brief:

                  By its terms in order to stand as notice two conditions had to occur
                  before the letter would act to satisfy the terms of Paragraph 2.0 to
                  not automatically renew the Lease:

                  1. Sherwood would have to refuse to discuss lowering the rent;
                     and
                  2. Sherwood would have to let Whyco know that it would be
                     unwilling to discuss a reduction.

                  These conditions were never met, therefore, the conditional notice
                  is void. On March 24, 2008, Joel Weingrad on behalf of Sherwood
                  sent an e-mail to Nick Post in response to the letter to open a
                  dialogue and indicate that he was willing to discuss altering the


       18
            Id.

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  10-06850-tjt       Doc 49     Filed 10/18/13     Entered 10/18/13 15:46:55        Page 11 of 34
                  rent. (Exhibit F, E-Mail dated 3/24/2008). Upon receipt of this
                  letter the conditions for the March 20, 2008 letter to constitute
                  notice failed. Thus, the letter fails to constitute notice under
                  Paragraph 2.0 and prevent automatic renewal.19

        Based on the undisputed facts, the Court finds that the March 20 letter was not a notice of

non-renewal that was sufficient to avoid the automatic one-year renewal of the Lease. While at

first blush the March 20 letter may appear to be ambiguous,20 a closer reading leaves only one

reasonable interpretation on the material issue, as the Court will now explain.

        At first glance, one might read the letter to mean that Whyco would not allow the Lease

to automatically renew at the end of the five-year term on January 31, 2009, because Whyco

found the increased rent that would apply under such an automatic renewal to be unacceptable.

One might read the March 20 letter to mean that Whyco would continue to lease the Premises

after the initial five-year term ended only if the parties could agree on a substantially reduced

rental rate. And that, of course, is clearly inconsistent with the notion of the Lease automatically

renewing for a year, which would necessarily mean Whyco paying the higher renewal rental rate

stated in the Lease.

        On a closer reading, however, the March 20 letter can only reasonably be read to also

mean that, despite whatever else Whyco stated in the letter, Whyco did not intend the letter to be

its 180-day notice of non-renewal of the Lease, unless two conditions were met; namely that:

        (1) it was not possible for Sherwood to agree to lower the rent after the initial five-year


        19
             Sherwood Br. (Docket # 33) at 13.
        20
             During oral argument, counsel for Franklin and counsel for Sherwood each stated that the
March 20 letter is ambiguous. (See Tr. (Docket # 48) at 55-56, 63 line 18.) As explained below,
however, the Court concludes that the March 20 letter is ambiguous only in a way that does not matter
(i.e., regarding which of two possible alternatives for “Condition 1” is meant in the letter.)

                                                   12



  10-06850-tjt       Doc 49     Filed 10/18/13     Entered 10/18/13 15:46:55          Page 12 of 34
        term; or it was not possible for Sherwood to discuss with Whyco lowering the rent (as to

        which of these two alternatives the first condition was, the letter was ambiguous, but it

        was one of them)(“Condition 1");21

        and

        (2) Sherwood’s Joel Weingrad let Whyco’s Nick Post know that Condition 1 was the case

        (“Condition 2”).

        The undisputed facts show that neither of these conditions were met. Joel Weingrad’s

prompt e-mail response of March 24, 2008 to the March 20 letter, quoted above, clearly stated

Sherwood’s willingness to discuss a lower rental rate, and it is undisputed that Whyco and

Sherwood did discuss the possibility of a lower rental rate, and that as late as July 31, 2008,

Sherwood proposed to Whyco a modification to the Lease. While the parties ultimately did not

agree on a modification to the Lease, Franklin does not allege, and has presented no evidence,

that Sherwood ever expressed to Whyco that it was not possible to agree to a lower rental rate, or

that Sherwood was unwilling to discuss that subject.

        For these reasons, neither of the non-renewal conditions in the March 20 letter were met.

As a result, under the words that Whyco chose to use in its March 20 letter, that letter cannot

reasonably be interpreted to be, in and of itself, a notice of non-renewal of the Lease.

        Instead, the Court finds that the most favorable interpretation of the March 20 letter for

Franklin that is reasonable is this: that Whyco was warning or threatening Sherwood that even if

Sherwood was willing to discuss a reduction in rent for the period after the initial five-year Lease


        21
          Thus, the Court finds the March 20 letter to be ambiguous in this limited respect. But this
ambiguity does not matter, because whichever alternative meaning applies as Condition 1, it is
undisputed that Condition 1 was not met, as explained below.

                                                   13



  10-06850-tjt     Doc 49      Filed 10/18/13      Entered 10/18/13 15:46:55          Page 13 of 34
term, if Whyco was unable to agree with Sherwood on a lower rental rate, Whyco would in the

future give a notice of non-renewal, and then would leave the Premises when the initial five-year

term ended. (At the time of the March 20 letter, Whyco still had some four and one-half months

before the 180-day notice deadline of August 4, 2008 would pass.) But Whyco chose its words

in the March 20 letter to clearly indicate to Sherwood that this letter was not itself a notice of

non-renewal of the Lease unless Sherwood simply would not even consider agreeing to a lower

rental rate for the Premises.

       For these reasons, the Court finds that, based on the undisputed facts, the March 20 letter

unambiguously was not itself a notice of non-renewal of the Lease. That letter clearly did not

suffice to avoid the automatic one-year renewal of the Lease when the initial five-year term

expired on January 31, 2009.

       2. The July 31, 2008 e-mail

       Franklin argues that the July 31, 2008 e-mail from Whyco’s Bill Aikens to Sherwood’s

Joel Weingrad, quoted above, also was a sufficient written notice of non-renewal of the Lease.

But it clearly was not. In that e-mail, Whyco merely stated that at that time, Whyco was unable

to determine whether it would be able to extend the Lease beyond the initial five-year term.

Rather, Whyco indicated, it had to wait until at least September 30, 2008 to make a decision,

because it would be waiting until then to learn whether one of its customers was extending a

major contract. September 30, of course, was well after the August 4, 2008 deadline for a 180-

day written notice of non-renewal.

       Whyco points to no other writing that it claims was a written notice of non-renewal of the

Lease given to Sherwood before the August 4, 2008 deadline.


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  10-06850-tjt     Doc 49       Filed 10/18/13    Entered 10/18/13 15:46:55         Page 14 of 34
        For these reasons, to the extent Franklin’s Motion seeks a ruling that the Lease terminated

on January 31, 2009, the Court must deny the Motion. To the contrary, the evidence presently in

the record demonstrates that the Lease automatically renewed for an additional year.

        B. Franklin’s argument that Whyco’s obligations under the Lease were assumed by
           Whyco’s subsidiary, then known as Spartan

        As noted in part I.B.1 of this opinion, Franklin contends that effective October 1, 2003,

Whyco assigned to its subsidiary, then known as Spartan, its interest in the Lease, with Spartan

agreeing to assume all of Whyco’s obligations under the Lease. Franklin claims that Sherwood

expressly consented to this assignment of the Lease, through the signature of Joel Weingrad.

        A copy of the alleged “Assignment and Assumption Agreement” is attached to Franklin’s

Motion as Exhibit 6-B. The affidavits and other evidence filed by the parties present conflicting

evidence regarding whether this alleged assignment of the Lease ever occurred, and whether

Sherwood’s Joel Weingrad actually signed the purported written consent to this assignment. For

one thing, Joel Weingrad’s affidavit denies that he ever signed or authorized the alleged

Assignment and Assumption Agreement.22

        Sherwood has presented evidence that creates a genuine issue of material fact with

respect to whether Sherwood consented to this assignment. In addition, Sherwood correctly

points out that while the purported assignment document says that Spartan “agrees to assume all

obligations of the Lessee [Whyco] under said lease,” it does not say that the Lessee Whyco was

released from any of its obligations under the Lease.



        22
          Compare Decl. of Bill Aikens (Ex. 5-A of Docket # 29) at ¶¶ 12-14 with Aff. of Joel
Weingrad (Ex. K of Docket # 33) at ¶¶ 1-3 (denying that he ever signed or authorized the alleged
Assignment and Assumption Agreement).

                                                   15



  10-06850-tjt     Doc 49      Filed 10/18/13      Entered 10/18/13 15:46:55         Page 15 of 34
        These points are important, in part, because Paragraph 16 of the Lease says (1) that

Whyco could not assign the Lease without Sherwood’s “express written consent;” and (2) that in

the event of an assignment of the Lease, Whyco “remains liable for all of the PAYMENTS

required under the terms of this LEASE, and for the performance of all covenants herein to be

performed by [Whyco].”23

        Franklin has presented an e-mail dated February 10, 2005 in support of its assignment

argument, but that evidence actually undercuts Franklin’s argument. In that e-mail, from

Sherwood’s Joel Weingrad to Spartan’s (later known as Whyco Detroit’s) Nick Post, Sherwood

is discussing a possible assignment of the Lease. He asks “[w]hat date do you want the

assignment to be effective - January 2006?” He then notes that “[t]here are provisions in the

Lease for assignment. I think it states, Whyco assigns the lease to Spartan, and in the event of a

default, Whyco will guarantee Spartan’s performance. I do not have the lease with me. This

wording should be checked for Whyco’s purposes. . . .” He then discusses the possibility of

signing or confirming an assignment “later this month.”24

        In this February 10, 2005 e-mail, Joel Weingrad was mistaken in thinking that the Lease

had in it language assigning the Lease from Whyco to Spartan; the Lease has no such language.

But the fact that the parties were discussing the possibility of Whyco assigning the Lease to


        23
            Docket # 29, Ex. 6-A at ¶ 16. As Franklin points out, in his deposition, Sherwood’s Joel
Weingrad testified, in referring to this last-quoted language from Paragraph 17 of the Lease, when asked
whether “that last sentence only applied if there was an unconsented to assignment,” by answering
“Essentially, yeah.” (Docket # 29, Ex 5-B, Tr. at 136). But at most, this creates an issue of fact on this
point, because the Lease language on this point, quoted in the text above, is clear and unambiguous in
meaning that even in the event of a consented-to assignment of the Lease, the Lessee (Whyco) remains
liable for all payments required under the Lease.
        24
             Docket # 29, Ex. 6-K at 1.

                                                    16



  10-06850-tjt       Doc 49      Filed 10/18/13     Entered 10/18/13 15:46:55          Page 16 of 34
Spartan in February 2005 tends to show that the parties had not agreed to an assignment of the

Lease in October 2003, as Franklin claims. And while Joel Weingrad’s February 10, 2005 e-mail

suggests that he might then have been agreeable to an assignment, his e-mail also indicates that

he had in mind an assignment in which Whyco remained liable for all of its payment obligations

and other obligations under the Lease. And Franklin has presented no evidence that after this

February 10, 2005 e-mail, Joel Weingrad ever signed any document consenting to an assignment

of the Lease, or releasing Whyco as an obligor under the Lease.

       Finally, Franklin argues that Sherwood is “barred from contesting the assignment,

because it was deemed to have admitted that it signed the Lease Assignment when it failed to

timely respond to a request for admission on this subject.”25 Although it does not say so,

Franklin must be referring to its Requests to Admit Nos. 16 and 17, which ask for admissions

that Joel Weingrad signed the alleged assignment document at issue. Sherwood did respond to

the admission requests, and denied Nos. 16 and 17, saying “Deny. The signature is a forgery.

Further, Joel Weingrad was unaware of the existence of said document until the [Claim]

Objection was filed on May 28, 2010.”26 According to Franklin, Sherwood served its responses

to the admission requests 8 days late — i.e. 8 days after the extended deadline agreed to by the

parties.27 The Court will not deem the admission requests to be admitted by Sherwood because

of this relatively minor untimeliness in responding. Instead, the Court will deem Sherwood’s

opposition to Franklin’s Motion, and in particular Sherwood’s arguments in opposition to


       25
            Franklin Br. (Docket # 29) at 12.
       26
            Docket # 35, Ex. 6-A at 49.
       27
            See Franklin Br. (Docket # 35) at 2-4.

                                                     17



  10-06850-tjt      Doc 49      Filed 10/18/13       Entered 10/18/13 15:46:55   Page 17 of 34
Franklin’s arguments about the Lease assignment, to be an informal motion under Fed.R.Civ.P.

36(b), Fed.R.Bankr.P. 7036, to permit withdrawal or amendment of any deemed admissions

under Civil Rule 36(b), and the Court now grants such motion.28

        Based on the present record, the Court concludes that at a minimum, genuine issues of

material fact preclude the granting of summary judgment to Franklin based on its assignment

argument.

        C. Franklin’s argument that if the Lease was automatically renewed for a year
           when the initial five-year lease term expired on January 31, 2009, such renewal
           is avoidable as constructively fraudulent

        As an alternative argument, Franklin contends that if the Lease was automatically

renewed for a year when the initial five-year lease term expired on January 31, 2009, the

obligation imposed on Whyco by such renewal is avoidable as constructively fraudulent, under

11 U.S.C. § 548(a)(1)(B). That section states, in pertinent part:

                (a)(1) The trustee may avoid any transfer . . . of an interest of the
                debtor in property, or any obligation . . . incurred by the debtor,
                that was made or incurred on or within 2 years before the date
                of the filing of the petition, if the debtor voluntarily or
                involuntarily -
                ...
                (B)(i) received less than a reasonably equivalent value in exchange
                for such transfer or obligation; and
                (ii)(I) was insolvent on the date that such transfer was made or
                such obligation was incurred, or became insolvent as a result of
                such transfer or obligation;

(Emphasis added).

        Franklin’s theory is that if the Lease automatically renewed for an additional year, any


        28
           The Court finds, under Civil Rule 36(b), that this relief “would promote the presentation of
the merits of the action” and “the court is not persuaded that it would prejudice the requesting party in
maintaining . . . the action on the merits.”

                                                    18



  10-06850-tjt      Doc 49      Filed 10/18/13      Entered 10/18/13 15:46:55           Page 18 of 34
obligation that the Debtor Whyco incurred because of that additional year being added to the

Lease term was incurred on August 5, 2008 (the day after the 180-day non-renewal deadline

expired), roughly four months before Whyco filed its bankruptcy petition on December 8, 2008,

and that Whyco was insolvent at the time. Franklin further argues that Whyco received no

benefit in exchange for incurring this obligation, and therefore did not receive “reasonably

equivalent value” for the renewal obligation.

       Sherwood does not dispute Franklin’s evidence of Whyco’s insolvency,29 but does dispute

Franklin’s claim that Whyco received no value for the Lease renewal. As discussed below, the

evidence on this point is conflicting.

       The Court concludes that it cannot grant summary judgment for Franklin based on this

avoidance theory, for the following reasons. First, under the circumstances, the alternative nature

of Franklin’s avoidance theory precludes summary judgment, on the present record. While it

does appear that the Lease was automatically renewed for an additional year, as discussed in part

VI.A of this opinion, the Court has ruled that there is a genuine issue of fact regarding Franklin’s

argument that Whyco was relieved of all obligations under the Lease when it allegedly was

assumed by Whyco’s subsidiary Whyco Detroit (then known as Spartan). See part IV.B, above.

If Franklin ultimately prevails on that argument, that would mean that the Debtor Whyco did not

incur any obligation when the Lease was automatically renewed for an additional year. Under

the present circumstances, therefore, Franklin cannot establish one of the necessary elements to

obtain summary judgment on its avoidance theory — namely, that the Debtor Whyco “incurred”

an “obligation,” within the meaning of § 548(a)(1), when the Lease was automatically renewed


       29
            See Decl. of Bill Aikens (Ex. 5-A of Docket # 29) at ¶¶ 32-34.

                                                    19



  10-06850-tjt      Doc 49      Filed 10/18/13      Entered 10/18/13 15:46:55     Page 19 of 34
for an additional year.

        Second, even assuming that the Debtor Whyco did incur an obligation on August 5, 2008

when the Lease was automatically renewed for a year, there are genuine issues of fact regarding

whether the Debtor Whyco received “reasonably equivalent value” in exchange for that

obligation. Franklin’s argument is based on the facts that only Whyco’s wholly-owned

subsidiary, Whyco Detroit (fka Spartan), ever occupied the Premises under the Lease, and that

Whyco Detroit had vacated the Premises sometime before the expiration of the initial five-year

term on January 31, 2009.30 From these claimed facts, Franklin contends that (1) Whyco never

benefitted from Whyco Detroit’s use and possession of the Premises, even before the renewal

year began on February 1, 2009; and (2) even if there had been some benefit to Whyco from

Whyco Detroit’s use and possession of the Premises, Whyco received no such benefit for any

part of the renewal year of the Lease.

        Sherwood does not dispute that only Whyco’s subsidiary Whyco Detroit ever occupied

the Premises, but Sherwood contends that Whyco benefitted from its subsidiary’s use and

occupancy of the Premises. And Sherwood disputes Franklin’s assertion that Whyco Detroit had

vacated the Premises before the Lease renewal year began on February 1, 2009. As to the latter

point, Sherwood cites the affidavit of Joel Weingrad, in which he says that on two specific dates

in January 2009 and on three specific dates in February 2009, he called Whyco “to discuss its

tardiness in complying with the requirements of” the Lease. Each time, he spoke to Whyco’s

employee Mary Konopka, who told him that “although receivables were slow and volume down,



        30
           These facts are supported by the Affidavit of Bill Aikens (Ex. 5-A of Docket # 29) at ¶¶ 8-9,
and 27, and also by Mr. Aikens’s deposition testimony (Ex. G of Docket # 33 at 10-11).

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  10-06850-tjt     Doc 49      Filed 10/18/13      Entered 10/18/13 15:46:55           Page 20 of 34
operations were continuing” at the Premises. Joel Weingrad also says in his affidavit that in

these February 2009 phone calls Ms. Konopka “did not mention the bankruptcy,” and that

“facsimile communications were still being received at” the Premises.31

       This evidence creates a genuine issue of fact regarding whether Whyco’s subsidiary,

Whyco Detroit, continued to occupy and use the Premises after the automatic lease renewal

would have begun on February 1, 2009.

       Next, the Court will address Franklin’s argument that Whyco received no benefit from

the renewal of the Lease even if Whyco’s subsidiary, Whyco Detroit, did continue to occupy and

use the Premises after January 31, 2009. As to that argument, genuine issues of material fact

exist, on two levels.

       First, if Whyco incurred an obligation by virtue of the automatic one-year renewal of the

Lease on August 5, 2008, Whyco received in exchange for such obligation all the rights given by

the Lease to the Lessee associated with that one-year renewal. If, as of August 5, 2008, the Lease

was a marketable asset — e.g., if Whyco could have sold (assigned) its rights under the renewed

Lease to a third party for even $1.00, and Sherwood would have consented to such assignment

and to a release of Whyco’s liability under the lease — that would mean that the rights Whyco

received under the renewed Lease had a value equal to or exceeding Whyco’s obligations

associated with its automatic one-year renewal of the Lease. In that event, Whyco would have

received at least “reasonably equivalent value” for the Lease renewal.

       The evidence presently in the record does not exclude the possibility that the renewed

Lease had a net positive value to Whyco of the type just described, as of August 5, 2008. In his


       31
            Aff. of Joel Weingrad (Ex. E of Docket # 33) at ¶¶ 1-3.

                                                    21



  10-06850-tjt      Doc 49      Filed 10/18/13      Entered 10/18/13 15:46:55   Page 21 of 34
March 20, 2008 letter to Sherwood’s Joel Weingrad, quoted in part IV.A.1 of this opinion,

Whyco Detroit’s Nick Post took the position that the monthly rent amount in the Lease (which

was scheduled to increase by $500.00 per month if the Lease automatically renewed effective

February 1, 2009), was an above-market rate under the market conditions at that time. (If this

was in fact the case as of August 5, 2008, that would suggest that as of that date the renewed

Lease did not have a positive net market value.) In his March 24, 2008 e-mail reply to Nick

Post’s letter, quoted in part IV.A.1 of this opinion, Joel Weingrad said that he would send Whyco

“a proposal with a rental rate less than your present monthly rental for any renewal periods,” and

that “[w]e want to be responsive to the prevailing rental market.” But there is no evidence in the

record about what proposed new rental rates the parties discussed after this exchange, or that the

parties ever agreed to change to any particular new rental rate for the first renewal year of the

Lease. And there is no evidence in the record of what the fair market rental rate was for the

Premises, as of either August 5, 2008 or February 1, 2009.

       For these reasons, and construing the summary judgment evidence presently in the record

in the light most favorable to Sherwood, the Court cannot find that the renewed Lease had no

positive net market value as of August 5, 2008. For this reason, a genuine issue of material fact

exists as to whether Whyco received “reasonably equivalent value” for the automatic one-year

renewal of the Lease.

       In addition, there is a second level on which a genuine issue of fact exists, regarding

Franklin’s theory that Whyco received no benefit from the automatic one-year renewal of the

Lease that occurred on August 5, 2008. The one-year renewal of the Lease gave Whyco the right

to continue to occupy and use the Premises after January 31, 2009, which right Whyco could use


                                                 22



  10-06850-tjt     Doc 49     Filed 10/18/13     Entered 10/18/13 15:46:55         Page 22 of 34
to allow its subsidiary Whyco Detroit to occupy and use the Premises, as Whyco had done during

the initial five-year Lease term. This right, and Whyco Detroit’s actual use of the Premises after

January 31, 2009, if it occurred, may have benefitted Whyco’s subsidiary economically. And

that direct economic benefit to Whyco’s subsidiary may have benefitted Whyco economically as

well, indirectly. The evidence presented so far does not exclude the possibility that Whyco

received such an indirect economic benefit, or show what the value was, to Whyco, of any such

indirect economic benefit.

       Under fraudulent transfer law, a parent company may be deemed to have benefitted,

indirectly, from economic benefits that its subsidiary received. Sixth Circuit case law recognizes

the possibility of such indirect economic benefit can be considered “value” received by the parent

company for purposes of determining if the parent company received “reasonably equivalent

value” in exchange for making a transfer or incurring an obligation. This Court discussed this

concept at length, in Gold v. Marquette University (In re Leonard), 454 B.R. 444 (Bankr. E.D.

Mich. 2011):

               The Bankruptcy Code does not define the phrase “reasonably
               equivalent value.” But the Code defines “value,” for purposes of §
               548, as “property, or satisfaction or securing of a present or
               antecedent debt of the debtor, but [it] does not include an
               unperformed promise to furnish support to the debtor or to a
               relative of the debtor.” 11 U.S.C. § 548(d)(2)(A).
               ...

               The Sixth Circuit discussed the § 548 concepts of “value” and
               “reasonably equivalent value” in Lisle v. John Wiley & Sons, Inc.
               (In re Wilkinson), 196 Fed.App’x. 337, No. 05-5744, 2006 WL
               2380887 (6th Cir. Aug. 17, 2006). In Lisle, the court held that “[a]
               court considering [the question of “reasonably equivalent value”]
               should first determine whether the debtor received any value in the
               exchange. If so, the court should determine if the value received


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  10-06850-tjt    Doc 49     Filed 10/18/13     Entered 10/18/13 15:46:55        Page 23 of 34
           was reasonably equivalent.” 196 Fed.App’x. at 341 (emphasis in
           original)(citation omitted). The court further held that “[v]alue can
           be in the form of either a direct economic benefit or an indirect
           economic benefit.” Id. at 342. The court discussed the situation in
           which the debtor/transferor does not receive a direct benefit in
           exchange for the transfer, but rather receives an “indirect” benefit,
           “through benefit to a third person.” The court noted:

                    “It is well settled that ‘reasonably equivalent value
                    can come from one other than the recipient of the
                    payments, a rule which has become known as the
                    indirect benefit rule.’ ” (citations omitted). The
                    indirect benefit rule was first explained in Rubin v.
                    Manufacturers Hanover Trust Co.:

                    [A] debtor may sometimes receive “fair”
                    consideration even though the consideration given
                    for his property or obligation goes initially to a third
                    person.... [T]he transaction's benefit to the debtor
                    need not be direct; it may come indirectly
                    through benefit to a third person.... If the
                    consideration given to the third person has
                    ultimately landed in the debtor's hands, or if the
                    giving of the consideration to the third person
                    otherwise confers an economic benefit upon the
                    debtor, then the debtor's net worth has been
                    preserved, and [the statute] has been satisfied-
                    provided, of course, that the value of the benefit
                    received by the debtor approximates the value of
                    the property or obligation he has given up.

           661 F.2d 979, 991-92 (2d Cir.1981)(internal quotation marks and
           citations omitted).

           Id. at 342 (bold emphasis added).

           ...

           The Lisle case also involved an indirect benefit to the
           debtor/transferor. In Lisle, the bankruptcy debtor Wallace
           Wilkinson paid $1 million from his personal funds to John Wiley
           & Sons, Inc. (“Wiley”), a book publisher, for a shipment of books
           that Wiley sold to Wallace’s Bookstore, Inc. (“WBI”). The debtor


                                              24



10-06850-tjt     Doc 49   Filed 10/18/13      Entered 10/18/13 15:46:55        Page 24 of 34
           Wilkinson was the majority shareholder of WBI. At the time of
           Wilkinson’s $1 million transfer to Wiley, Wilkinson owed $60
           million to WBI. WBI credited Wilkinson with a $1 million
           reduction in Wilkinson’s debt to WBI. 196 Fed.App’x at 337-38,
           342. Thus, in exchange for Wilkinson’s $1 million payment to
           Wiley, the following benefits flowed: (1) a direct economic benefit
           flowing from Wiley to WBI, in the form of a shipment of books
           that Wiley sold to WBI; and (2) an indirect economic benefit
           flowing from WBI to the debtor Wilkinson, in the form of a $1
           million credit against Wilkinson’s debt to WBI. The Sixth Circuit
           characterized the latter benefit as “indirect,” because “the benefit
           Wilkinson received did not come from Wiley,” the transferee of
           Wilkinson’s $1 million transfer, but rather from WBI. Id. at 342.

           In Lisle, the Sixth Circuit held that when the benefit to the
           debtor/transferor is indirect, the fraudulent transfer defendant has
           the burden of showing that the indirect benefit to the
           debtor/transferor is “concrete and quantifiable,” and has the burden
           of quantifying the benefit. Id. (citing cases, with approval). This
           burden can be difficult to meet in the case of an intangible, indirect
           benefit; as the Lisle court noted:

                  The burden of showing that the benefit is concrete
                  and quantifiable can be challenging in a case where
                  the alleged benefit is goodwill, corporate synergy, a
                  business opportunity, the continuation of a business
                  relationship, or some other intangible benefit.

           Id. (citations omitted). In the Lisle case, the court found that the
           indirect benefit to the debtor Wilkinson — a $1 million reduction
           in Wilkinson’s debt to WBI — was concrete and quantifiable. Id.

           Finally, the Lisle court held that whether the benefit to a debtor
           from a transfer is direct or indirect, it must be an “economic”
           benefit to the debtor in order to be considered “value.” Id. (“Value
           can be in the form of either a direct economic benefit or an indirect
           economic benefit.”) As the Lisle court held: “The district court
           rightly stated that ‘the focus should be on the overall effect on the
           debtor's net worth after the transfer.’” Id. at 343 (citations
           omitted).

           Thus, under the Sixth Circuit’s decision in Lisle, an indirect benefit
           to the debtor from a transfer is not considered “value,” and


                                            25



10-06850-tjt   Doc 49    Filed 10/18/13     Entered 10/18/13 15:46:55         Page 25 of 34
                 therefore cannot be “reasonably equivalent value,” unless it is (1)
                 an “economic” benefit; (2) concrete; and (3) quantifiable.

454 B.R. at 455-57 (footnote omitted).

       Bill Aikens’s affidavit does allege, in a general, but inconclusive, way that Whyco never

received any benefit from its subsidiary’s use of the Premises, when it states:

                 9. From approximately February 1, 2004 to January 31, 2009, the
                 Premises were occupied by Whyco Detroit.

                 10. The Debtor received no value from Whyco Detroit’s
                 occupation of the Premises because the Debtor did not occupy the
                 Premises and Whyco Detroit never made payment, or provided any
                 other benefit, to the Debtor on account of its occupation of the
                 Premises or with respect to the Lease Agreement.
                 ...

                 25. The Debtor did not receive any value in exchange for the
                 alleged extension of the Lease Agreement beyond January 31,
                 2009.

                 26. The Debtor did not receive any value in exchange for
                 occupation of the Premises by any entity beyond the Petition
                 Date.32

       At this summary judgment stage, the Court must construe this evidence in the light most

favorable to the non-moving party, Sherwood. In so doing, the Court concludes that this

evidence is not enough to exclude, beyond any genuine issue of fact, the possibility that Whyco

received indirect economic benefits from its subsidiary’s use of the Premises. Bill Aikens’s

affidavit can reasonably be construed to mean only that Whyco Detroit did not pay Whyco rent,

or pay Whyco money under some other guise, expressly for the use of the Premises. But this

does not necessarily mean that Whyco Detroit’s use of the Premises to conduct its business did



       32
            Aff. of Bill Aikens (Ex. 5-A of Docket # 29) at ¶¶ 9-10, 25-26.

                                                    26



  10-06850-tjt      Doc 49      Filed 10/18/13      Entered 10/18/13 15:46:55      Page 26 of 34
not indirectly benefit the parent company Whyco in a way that is cognizable under the Sixth

Circuit’s decision in Lisle. Bill Aikens’s affidavit makes no effort to analyze and address what

economic benefit, if any, Whyco received from the operations of its 100% subsidiary Whyco

Detroit.

       For all of these reasons, genuine issues of material fact preclude the Court from granting

summary judgment to Franklin on its fraudulent transfer theory.

       D. Franklin’s argument that if the Lease was automatically renewed effective
          February 1, 1999, then the Lease was rejected under 11 U.S.C. § 365(d)(4)

       Franklin argues that if the Lease was automatically renewed for one year, beginning on

February 1, 1999, as Sherwood contends (and as the Court has now found, in part IV.A of this

opinion,) then the Lease must be deemed to have been rejected on April 7, 2009, under 11 U.S.C.

§ 365(d)(4).33 Under that section, the Lease would be “deemed rejected” on the date that is 120

       33
            Section 365(d)(4) provides:

                 (4)(A) Subject to subparagraph (B), an unexpired lease of
                 nonresidential real property under which the debtor is the lessee
                 shall be deemed rejected, and the trustee shall immediately
                 surrender that nonresidential real property to the lessor, if the
                 trustee does not assume or reject the unexpired lease by the earlier
                 of--

                  (i) the date that is 120 days after the date of the order for relief; or

                  (ii) the date of the entry of an order confirming a plan.

                 (B)(i) The court may extend the period determined under subparagraph
                 (A), prior to the expiration of the 120-day period, for 90 days on the
                 motion of the trustee or lessor for cause.

                 (ii) If the court grants an extension under clause (i), the court may grant
                 a subsequent extension only upon prior written consent of the lessor in
                 each instance.

                 (B)(i) The court may extend the period determined under subparagraph

                                                     27



  10-06850-tjt      Doc 49      Filed 10/18/13       Entered 10/18/13 15:46:55            Page 27 of 34
days after the order for relief, because it is undisputed that the Debtor-in-Possession Whyco did

not assume or reject the Lease by that date. Nor did the Court extend that 120-day deadline,

before the deadline expired, as permitted by § 365(d)(4)(B)(i).

       In this case, Whyco’s voluntary Chapter 11 petition was filed on December 8, 2008, so

that was the date of the order for relief, see 11 U.S.C. § 301(b), and day number 120 days after

that was April 7, 2009. The Court agrees that the Lease must be deemed rejected, as of April 7,

2009, unless Franklin ultimately succeeds on either of its arguments that (1) Whyco assigned the

Lease to Whyco Detroit and was relieved of all obligations under the Lease; and (2) the

automatic renewal of the Lease for an additional year beginning February 1, 2009, is avoidable as

a fraudulent obligation under 11 U.S.C. § 548.

       Sherwood argues three things in response to Franklin’s argument under § 365(d)(4).

First, Sherwood argues that Whyco failed to “immediately surrender” the leased Premises to

Sherwood, as it was required to do upon the deemed rejection under § 365(d)(4). Sherwood

argues that because of this, the Lease “continued” after April 7, 2009, even if it was deemed

rejected as of April 7, 2009.34 There is a factual dispute about when Whyco and its subsidiary

Whyco Detroit vacated the Premises, and thereby surrendered the Premises. But this issue



                 (A), prior to the expiration of the 120-day period, for 90 days on the
                 motion of the trustee or lessor for cause.

                 (ii) If the court grants an extension under clause (i), the court may grant
                 a subsequent extension only upon prior written consent of the lessor in
                 each instance.

(Emphasis added).


       34
            Sherwood Br. (Docket # 33) at 16.

                                                     28



  10-06850-tjt      Doc 49      Filed 10/18/13       Entered 10/18/13 15:46:55            Page 28 of 34
cannot negate the fact that the Lease must be deemed rejected as of April 7, 2009.

        Second, Sherwood argues that even if the Lease is deemed rejected as of April 7, 2009, it

is still entitled to “contract damages for the remaining period of the Lease as part of its claim.”35

Under 11 U.S.C. §§ 365(g)(1), 501(d), and 502(g)(1), the April 7, 2009 (post-petition) rejection

of the Lease is deemed to constitute a pre-petition breach of the Lease, and Sherwood would

have a claim based on that breach that must be treated as a pre-petition claim.

        Third, Sherwood argues that the Debtor’s Chapter 11 plan, which was confirmed on

March 22, 2010,36 established a later, alternate date for the rejection of the Lease, such that the

Lease was not rejected until the Effective Date of the Plan, which, Sherwood says, was March

27, 2010.37 But the Court agrees with Franklin that the confirmed Plan could not, and did not

purport to, establish a new, later rejection date for an unexpired lease that had been rejected 11

months earlier under 11 U.S.C. § 365(d)(4).38

        35
             Id. at 17.
        36
             See supra discussion in footnote 2 of this opinion.
        37
           Sherwood Br. (Docket # 33) at 17. Actually, the Court calculates that the Effective Date of
the confirmed Plan was April 12, 2010, because that is the date that was “five business days after the
Confirmation Order becomes a Final Order.” See Plan (Docket # 352) at 6 (definitions of “Effective
Date” and “Final Order”).
        38
             Sherwood relies on Article IV(a) of the Plan, which states:

                  On the Effective Date, all executory contracts that exist shall be rejected
                  as of the Effective Date with no further action required by the Debtor,
                  except for executory contracts and unexpired leases (i) that have
                  previously been assumed pursuant to an order of the Bankruptcy Court
                  entered prior to the Effective Date; (ii) are designated by the Committee
                  as potentially to be assumed and assigned to a buyer; or (iii) have been
                  assumed or designated to be assumed and assigned to the Buyer.

Docket # 352 at 14 (emphasis added). In the Court’s view, this provision in the Plan cannot reasonably
be read as applying to an unexpired lease that was deemed rejected under § 365(d)(4) many months

                                                      29



  10-06850-tjt        Doc 49     Filed 10/18/13       Entered 10/18/13 15:46:55           Page 29 of 34
        For these reasons, the Court concludes that the Lease was rejected, under 11 U.S.C.

§ 365(d)(4) effective April 7, 2009, subject to the following proviso. Because of this proviso, the

Court cannot grant partial summary judgment in favor of Franklin on this rejection issue at this

time. The proviso is that the Lease cannot be deemed rejected, as described above, if Franklin

prevails on either of the following claims: (1) Franklin’s claim that the one-year automatic

renewal of the Lease, discussed in part IV.A of this opinion, is avoidable as a fraudulent

obligation under 11 U.S.C. § 548; and (2) Franklin’s claim that the Lease was assigned to Whyco

Detroit and Whyco was relieved of any obligation under the Lease. The Court has concluded that

genuine issues of material fact preclude summary judgment for Franklin on those claims, in parts

IV.B and IV.C of this opinion. So those claims remain pending.

        E. Franklin’s argument that Sherwood’s claim, both as originally filed and as later
           amended, should be disallowed because it was not timely filed

        The general deadline for filing claims in this Chapter 11 case, set by the Court under

Fed.R.Bankr.P. 3003(c)(3) shortly after this case was filed, was April 13, 2009.39 Franklin argues

that Sherwood should have no allowed claim, because its original proof of claim, filed July 16,

2009 in the amount of $202,878.12,40 and its amended proof of claim, filed April 21, 2010 in the

amount of $710,489.71,41 were both untimely. In the alternative, Franklin argues that even if the

Court excuses the allegedly untimely filing of Sherwood’s initial proof of claim, the Court should



earlier, particularly in light of the fact that such a reading would make this provision in the Plan illegal,
as contrary to § 365(d)(4).
        39
             Docket # 6 at 1.
        40
             Docket # 29, Ex. 6-H.
        41
             Docket # 29, Ex. 6-I.

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  10-06850-tjt        Doc 49         Filed 10/18/13   Entered 10/18/13 15:46:55            Page 30 of 34
not excuse the untimely filing of Sherwood’s much larger amended proof of claim, and should

not deem the amended claim to relate back to the date the initial claim was filed. For a number

of reasons, Sherwood disputes Franklin’s arguments.

       The Court must deny Franklin’s Motion, with respect to its arguments that Sherwood’s

claims were untimely. This result is necessary because of the rulings the Court has made on

other summary judgment issues, earlier in this opinion. This is so because of the following:

       1. The Court has ruled, earlier in this opinion, that the Lease was automatically renewed

for the additional year beginning February 1, 2009, unless Franklin ultimately succeeds in

avoiding the automatic renewal, as a constructively fraudulent obligation under 11 U.S.C.

§ 548(a)(1)(B), in which case the Lease would be deemed to have expired by its terms on January

31, 2009. And the Court has ruled that it cannot grant summary judgment for Franklin on its §

548 avoidance action.

       2. If Franklin’s avoidance action ultimately fails, so that the Lease was automatically

renewed for the additional year beginning February 1, 2009, then the Lease must be deemed

rejected as of April 7, 2009, under 11 U.S.C. § 365(d)(4), as the Court has ruled earlier in this

opinion.

       3. If the Lease was rejected on April 7, 2009, rather than simply having expired on

January 31, 2009, then Sherwood had the right to file a claim “arising from the rejection,” under

11 U.S.C. §§ 365(g)(1), 501(d), and 502(g)(1). And the deadline for filing such a claim,

commonly referred to as a “rejection claim,” was to be set by the Court, under Fed.R.Bankr.P.

3002(c)(4).




                                                 31



  10-06850-tjt    Doc 49     Filed 10/18/13      Entered 10/18/13 15:46:55        Page 31 of 34
        4. The only deadline the Court ever set under Fed.R.Bankr.P. 3002(c)(4),42 that would

apply to a rejection claim of Sherwood, was May 12, 2010. This deadline was set by Article

IV(b) of the confirmed Plan, which states:

                Claims arising out of the rejection of an executory contract or
                unexpired lease must be filed with the Bankruptcy Court
                within thirty days after the later of: (i) the date of entry of an
                order of the Bankruptcy Court approving such rejection; and (ii)
                the Effective Date. Any Claims arising from the rejection of an
                executory contract or unexpired lease for which proofs of claim are
                not timely filed within that time period will be forever barred,
                unless otherwise ordered by the Bankruptcy Court.43

As noted in footnote 37 of this opinion, the Effective Date of the confirmed Plan was April 12,

2010. So if the Lease was rejected, as described in Paragraph Nos. 2-3 above, the deadline for

Sherwood to file a rejection claim (i.e., any claim arising from the rejection of the Lease) was

thirty days later, on May 12, 2010.

        5. If, as just described, Sherwood had a right to file a rejection claim (because the Lease

was rejected, rather than simply having expired on January 31, 2009), then to the extent

Sherwood’s originally-filed claim and its amended claim may be considered a claim “arising

from the rejection” of the Lease, such claims were timely filed, because they were both filed

before May 12, 2010.

        6. If the Lease was not rejected, then the May 12, 2010 claim-filing deadline does not

        42
           The Court set an earlier deadline for a list of five specific creditors whose executory contracts
were rejected on motion of the Debtor, but that deadline applied only to those creditors, and not to
Sherwood. See Order, filed February 11, 2009 (Docket # 83 in Case No. 08-69940).
        43
            Plan (Docket # 352) at 14 (emphasis added). In the Court’s view, this Article IV(b) clearly
applies to all rejected executory contracts and rejected unexpired leases, not just to those that were
rejected only by virtue of Article IV(a) of the Plan. See also supra discussion in footnote 38 of this
opinion. Franklin’s counsel argued otherwise during the hearing on the motions (see Tr., Docket # 48, at
28-29), but the Court rejects that argument.

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  10-06850-tjt      Doc 49      Filed 10/18/13      Entered 10/18/13 15:46:55            Page 32 of 34
apply to Sherwood’s claim at all. Instead, the claim deadline was the general claims bar date of

April 13, 2009.

       7. If and to the extent Sherwood is subject to the April 13, 2009 claim deadline in this

case, Sherwood is entitled to an enlargement of that deadline, for some period of time after April

13, 2009, under Fed.R.Bankr.P. 9006(b)(1) for “excusable neglect,” and possibly on other

grounds, because, as described in part I.B.2 of this opinion, Sherwood was not given proper

notice of the filing of the filing of this bankruptcy case and the claims-bar date. The evidence

currently in the record does not permit a finding that Sherwood learned of the bankruptcy case

any sooner than April 23, 2009, ten days after the general claims bar date.

       8. If Sherwood is ultimately determined to have the benefit of the May 12, 2010 filing

deadline for rejection claims, some of Sherwood’s claim is likely to be considered a rejection

claim (a claim “arising from the rejection of” the Lease), and some of the claim might not be

considered a rejection claim. In that event, some part(s) of Sherwood’s claim (the rejection claim

part(s)) would be deemed timely without further issue, but some part(s) of Sherwood’s claim

would be subject to the excusable neglect standard, to determine timeliness. But even as to the

latter, the Court’s consideration of the relevant factors to determine “excusable neglect” may be

materially affected by whether Sherwood has a rejection claim that is deemed timely because it

was filed before May 12, 2010. See, e.g., Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd.

P’ship, 507 U.S. 380, 395 (1993)(e.g., the factors of “danger of prejudice” to the party opposing

relief; and the “length of delay and its impact on judicial proceedings”).

       Based on these considerations, the Court cannot grant summary judgment at the present

time, and on the current record, based on Franklin’s arguments that Sherwood’s claim should be


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  10-06850-tjt    Doc 49     Filed 10/18/13      Entered 10/18/13 15:46:55       Page 33 of 34
disallowed or reduced for untimeliness.

       F. Franklin’s other summary judgment arguments

       Franklin made several other arguments in its Motion. But because of the Court’s rulings

in this opinion, above, and because genuine issues of material fact exist, the Court cannot grant

summary judgment for Franklin based on any of the other arguments.

V. Conclusion

       For the reasons stated in this opinion, the Court will enter an order denying Franklin’s

Motion.


Signed on October 18, 2013                           /s/ Thomas J. Tucker
                                                     Thomas J. Tucker
                                                     United States Bankruptcy Judge




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  10-06850-tjt    Doc 49     Filed 10/18/13     Entered 10/18/13 15:46:55        Page 34 of 34
